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                           UNTIED STATES DISTRICT COURT

                           EASTERN DISTRICT OF NEW YORK

                           Civil Action No. 1:23-CV-369

                           (Morrison, J.) (Levy, M.J.)

                - - - - - - - - - - - - - - - - - - - - - - -

                            UNITED STATES OF AMERICA,

                                      Plaintiff,

                                          v.

            RARE BREED TRIGGERS, LLC; RARE BREED FIREARMS, LLC;

                     LAWRENCE DEMONICO; and KEVIN MAXWELL,

                                     Defendants.

                - - - - - - - - - - - - - - - - - - - - - - -



                                    DEPOSITION OF



                           LAWRENCE ALEXANDER DEMONICO



                                Friday, July 7, 2023




            Reported by:

            SUSAN ASHE, CSR, RMR, CRR




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       7                 Deposition of LAWRENCE ALEXANDER DEMONICO,

       8    taken on behalf of the Plaintiff, beginning at

       9    10:07 a.m., on Friday, July 7, 2023, before Susan

      10    Ashe, CSR, RMR, CRR, and a Notary Public for the

      11    Commonwealth of Virginia.

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       1    APPEARANCE OF COUNSEL:

       2          On behalf of the Plaintiff:

       3                 BREON PEACE

       4                 UNITED STATES ATTORNEY

       5                 EASTERN DISTRICT OF NEW YORK

       6                 BY:   PAULINA STAMATELOS, ESQ.

       7                 BY:   MICHAEL BLUME, ESQ.

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       1    ALSO PRESENT:

       2                 Matthew Myerson, Esq.

       3                 Bureau of Alcohol, Tobacco, Firearms and

       4                 Explosives

       5

       6                 Michael Columbo, Esq.

       7                 The Dhillon Law Group

       8                 (Via Teleconference)

       9

      10                 Kevin Maxwell, Esq.

      11                 (Via Teleconference)

      12

      13

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        9           Q       What is "Red Beard Treasures"?

      10            A       It's a name that I used on shipping

      11     labels.

      12            Q       And did you use that name on shipping

      13     labels to ship WOTs?

      14            A       That is correct.

      15            Q       And why did you use the name "Red Beard

      16     Treasures" as opposed to "Rare Breed Triggers"?

      17            A       It's really easy.

      18                    So we had previously exclusively used

      19     UPS as a shipper.      They have a good reputation,

      20     things get to where they're going, they have a good

      21     insurance policy -- like I didn't need to worry

      22     about the item getting there.         And if it didn't get

      23     there or it was damaged in the process, UPS would

      24     take care of that problem.

      25                    USPS, they don't typically deliver to




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        1    someone's door.      They're putting it in a mailbox.

        2    It could be at the end of a driveway, the end of a

        3    street -- it's much less secure.

        4                   I was concerned about product loss.

        5                   And obviously with the price of these

        6    triggers, you know, being expensive and actually

        7    saying what it is on the product -- on the shipping

        8    label, it's much more of -- I don't know.

        9                   I think the chance is higher that

      10     somebody would be inclined to steal it if it said

      11     what it was.     And it's -- and USPS does not have a

      12     good track record delivering.         And they do not have

      13     a good track record, you know, covering like

      14     insurance claims.

      15                    So, you know -- in addition, it's --

      16     was, you know, really looking out for the customer's

      17     privacy.

      18            Q       Okay.   When was Red Beard Treasures

      19     incorporated?

      20            A       It doesn't exist.      It's just a name on a

      21     shipping label.

      22            Q       Okay.   So it's not an actual company?

      23            A       No.

      24            Q       Okay.

      25            A       I mean, even the return address on all




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        1    those shipping labels was still our address in

        2    Fargo.

        3            Q      Okay.   Just so I understand, you wanted

        4    to protect -- you used "Red Beard Treasures" on the

        5    shipping labels to protect your client -- your

        6    customer's privacy and to make sure that no one

        7    stole these WOTs?

        8            A      I feel like that's kind of an

        9    oversimplification.       It was definitely a little bit

      10     more complicated than that.

      11                    I can repeat my explanation, if you'd

      12     like.

      13             Q      No, that's not necessary.

      14                    What is "Red Barn Tools"?

      15             A      Same thing, another name.

      16             Q      Were you trying to avoid ATF figuring

      17     out that it was Rare Breed Triggers selling the WOTs

      18     by using these names?

      19             A      Well, Rare Breed Triggers marketed -- it

      20     sent out countless emails to people advertising that

      21     they were selling WOTs.        I don't know why I would

      22     make it so public and then attempt to hide it.

      23             Q      So just to be clear, the "Rare Breed

      24     Triggers" name was not on the mailing label for the

      25     WOT sales.




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        1                   Is that right?

        2           A       That is correct.




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        1    even a topic of discussion.         I don't think he told

        2    me about it.      I don't think I even knew about

        3    that -- until much, much, much recently.

        4                   That's the best I could do.

        5                   Like it's hard for me to tell you about

        6    something that I don't know, like I could tell you

        7    the reasons why I don't know it.

        8            Q      Okay.    Did you ever see the

        9    classification report from the ATF classifying the

       10    AR1 trigger system as a "machinegun"?

       11            A      I have now.     Like --

       12            Q      Who gave that document to you?

       13            A      Well, I think it's....

       14                   I'm going to pause for a second.

       15            Q      Take your time.

       16                                (Pause.)

       17            A      I know you're sitting on the other side

       18    of the table, but I hope you can appreciate how many

       19    things there are here -- multiple litigations,

       20    numerous patents, all these things.           And I'm doing

       21    my absolute best to kind of put it together for you.

       22                   I know that -- obviously, since we have

       23    entered into this litigation arguing over the

       24    FRT-15, I have come to know about the AR1.

       25                   I did not know about the AR1 prior to




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        1    that, and that's the best I can do for you.               And

        2    that is the honest-to-God most genuine answer I

        3    could give you.

        4            Q      Okay.    Do you know if there are any

        5    similarities between the AR1 trigger and the FRT-15?

        6            A      They're both forced reset.

        7            Q      Is that it?

        8            A      It's easier to tell you what the

        9    differences are.

       10                   The similarities is that they're both

       11    reset.

       12                   I have now come to know that the....

       13                   The best way to put this together....

       14                   ...that one of the reasons -- well,

       15    really, the only reason that I'm even aware of that

       16    the ATF had denied the AR1 was because it had a

       17    potential for hammer -- hammer follow.

       18                   (Court reporter request for clarity.)

       19                   THE WITNESS:     "Follow."

       20            A      Hammer follow in itself isn't illegal.

       21                   A hammer follow typically results in a

       22    malfunction.

       23                   But if timed perfectly -- and that takes

       24    a lot of effort to time it perfectly -- it could

       25    lead to automatic fire.




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